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JAMES McMAHoN/DAN:EL Loss
Assistant United States Attorneys

B@for@: HONORABLE LISA MARGARET SMITH
United States Magistrate Judge
Southern District of New York

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UNITED STATES OF AMERICA : SEALED SUPERSEDING

COMPLAINT

: Violations of
- v. - : 15 U.S.C. §§ 78j(b) &
78ff; 17 C.F.R. § 240.10b-5;
and 18 U.S.C. § 1343
MICHAEL SCRONIC,
COUNTY OF OFFENSE:
Defendant. : Westchester

SOUTHERN DISTRICT OF NEW YORK, ss..

KEVIN M. GONYO, being duly sworn, deposes and says
that he is a Special Agent with the Federal Bureau of
Investigation ("FBI"), and charges as follows:

COUNT ONE

From at least in or about April 2010 through at least
in or about October 2017, in the Southern District of New York
and elsewhere, MICHAEL SCRONIC, the defendant, knowingly and
.willfully, directly and indirectly, by use of the means and
instrumentalities of interstate commerce, and of the mails and
of facilities of national securities exchanges, in connection
with the purchase and sale of securities, would and did use and
employ, in connection with the purchase and sale of securities,
manipulative and deceptive devices and contrivances, contrary to
Title 17, Code of Federal Regulations, Section 240.10b-5, by:

(a) employing devices, schemes, and artifices to defraud; (b)
making untrue statements of material fact and omitting to state
material facts necessary in order to make the statements made,
in the light of the circumstances under which they ware made,
not misleading; and (c) engaging in acts, practices, and courses

 

 

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of business which operated and would operate as a fraud and
deceit upon persons, to wit, SCRONIC made false and misleading
representations by interstate wire communication regarding the
performance of the Scronic Macro Fund (the “Fund”) and used the
investors’ money for his own personal benefit and to pay
redemptions to other investors.

(Title 15, United States Code, Sections 78j(b) & 78ff and
Title 17, Code of Federal Regulations, Section 240.10b~5)

CO`UNT 'I’WO

From at least in or about April 2010 through at least
in or about October 2017, in the Southern District of New York
and elsewhere, MICHAEL SCRONIC, the defendant, knowingly and
willfully, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by
means of materially false and fraudulent pretenses,
representations and promises, for the purpose of executing such
scheme and artifice, transmitted and caused to be transmitted by
means of wire communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds, to wit, SCRONIC
made false and misleading representations by interstate wire
communication regarding the performance of the Fund and used the
investors’ money for his own personal benefit and to pay

lredemptions to other investors.

(Title 18, United States Code, Section 1343)

The bases for my knowledge and the foregoing charges
are, in part, as follows:

. 1. I am a Special Agent with the FBI and I have been
personally involved in the investigation of this matter. 1 have
been a Special Agent with the FBI for about 17 months. I am
currently assigned to a white-collar crime squad in the FBI’s
New York Field Office. Before that, I was employed as an
accounting and finance professional for about seven years. 1
have received training regarding securities fraud and have been
involved in several investigations relating to violations of the
federal securities laws and related offenses.

2. This affidavit is based upon my review of documents
and my interviews of witnesses. Because this Complaint is being

 

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submitted for the limited purpose of establishing probable
cause, it does not include all the facts that 1 have learned
during the course of my investigation. Where the contents of
documents and statements of others are reported herein, they are
reported in substance and in part. Where figures, calculations,
and dates are set forth herein, they are approximate, unless

stated otherwise.

The Scheme to Defraud

3. Based upon my interviews of witnesses, information 1
have received from the Securities & Exchange Commission and my
review of documents, such as documents provided by witnesses,
public records, bank account and brokerage account statements
and electronic communications between MLCHAEL SCRONIC, the
defendant, and investors and potential!investors in the Fund, 1

have learned that:

a. SCRONIC is a graduate of Stanford University and
received a Master of Business Administration degree from the

University of Chicago.

b. SCRONIC has been operating the Fund out of his
home in Westchester County, New York since in or about April
2010. He had previously been employed for about seven years at
a large investment bank in New York where he served as an
Executive Director on an equities trading desk. He left that

job in or about 2005.

c. Since April 2010, SCRONIC has engaged in a scheme
to defraud Fund investors by misrepresenting the Fund’s
performance and by using investor funds for his personal

benefit.

d. 1n most cases, SCRONIC and the Fund's investors
signed investment agreements. In those agreements, SCRONIC
represented that the Fund invested in options. The agreements
provided that SCRONIC's annual fee for acting as the Fund's
investment advisor would be a maximum of lt of the total amount
invested in the Fund and 20% of the Fund's annual profits.

e. Since in or about April 2010, SCRONIC has

solicited and received approximately $19,750,000 from at least
45 investors, including a number of friends and acquaintances.

 

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Several of the investors live outside of New York and some
investors live outside of the United States.

f. SCRONIC used interstate wires to execute his
scheme. He frequently communicated with investors by email. In
addition, the investors typically transmitted money to SCRONIC's
personal bank accounts by wire transfer. SCRONIC then generally
sent by wire at least a portion of the investors' money to a
personal brokerage account he used to conduct trades on the
Fund's behalf (the "Brokerage Account"). 1 have not seen any
instance in which SCRONIC transferred funds he received from an
investor to any investment or brokerage account other than the

Brokerage Account.

g. SCRONIC generally reported the performance of the
Fund to its investors in writing on a quarterly basis and also
provided performance figures to potential investors. He
reported positive returns to some investors in all but one of
the 22 quarters from January 2012 through June 2017, with the
highest reported quarterly return being 13.4% in the fourth
quarter of 2014. To other investors, he reported positive
returns in all quarters between January 2012 and June 2017. The
records of the Brokerage Account show that the Fund has had
trading losses in each year of its operation. As of June 30,
2017, the Fund had net trading losses in 28 out of 29 quarters
of operation, totaling an aggregate net loss of about $15.7
million before commissions. The Fund’s only positive quarter
was its first-quarter of operation in 2010.

h. SCRONIC provided most investors with quarterly
account statements that purported to show the performance of the
Fund. Beginning with the third quarter of 2012, SCRONIC's
account statements also purported to show the value of the
investor’s share of the Fund. For each quarter, from October
2012 through June 2017, the total assets of the Fund reported by
SCRONIC on these account statements exceeded the total assets
held in all of SCRONIC’s bank and brokerage accounts. For
example, the account statements sent to investors for the
quarter ending June 30, 2017 reported total Fund assets of about
$21.7 million. The balance of the Brokerage Account at that
time was only $27,376, while the combined balance of SCRONIC's
brokerage and bank accounts totaled no more than about $102,376

at that time.

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i. 1n addition to realizing losses on the Fund's
investments, SCRONIC used investor funds for personal expenses
in amounts exceeding the amounts of management fees he
represented he would take in the investor agreements. SCRONIC's
primary source of funds during this period was money he received
from Fund investors. His other sources of income during this
period, coupled with his liquid savings as of the start of 2012,
totaled no more than $323,000. However, from January 2012
through August 2017, SCRONIC's personal expenditures totaled
about $2.9 million, an average of more than $500,000 annually.
SCRONIC’s expenses included, among other things, monthly rent of
$12,275 for his primary residence in Westchester County;
mortgage payments on a vacation home at Stratton Mountain in
Vermont; fees for multiple beach and country clubs, including a
$30,000 payment to the Stratton Mountain Club in July 2017; and
miscellaneous credit card charges averaging more than $15,000

per month.

j. 1n recent months, SCRONIC has been unable to raise
a sufficient amount of new investor funds to enable him to pay
redemptions requested by existing Fund investors. Between June
2017 and August 2017, at least four investors have requested
redemptions from the Fund totaling about $1.5 million. The
Fund's investment agreements required SCRONIC to pay redemptions
within three business days. SCRONIC has failed to satisfy the
redemption requests described above and has not had sufficient
funds on hand to do so. Instead, he has, at various times, told
the redeeming investors that the Fund would only pay redemptions
at quarter end going forward; that he was too busy and
preoccupied with a relative's medical condition to pay
redemptions; and that he was unavailable to pay redemptions
because he was on vacation. 1n some cases, SCRONIC has ignored

redemption requests.

“Victim A” Invests With SCRONIC

4. Based upon an interview with an investor, a review of
documents provided by the investor, a review of bank and
brokerage account records, and a review of electronic
communications between MICHAEL SCRONIC, the defendant, and

others, 1 have learned that:

a. On or about November 12, 2015, SCRONIC stated in
an email to Victim A, a potential investor, “[W]hat’s cool about

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my fund is that 1'm only in publicly traded options and cash so
any redemptions are met within 2 business days so if you do need
to withdraw for your business needs it will be quick and

painless.”

b. On or about November 30, 2015, SCRONIC claimed in

an email to Victim A that: a) the yeardto-date rate of return
for the Fund was 21%; and b) the rate of return for the Fund
since inception in 2010 was about 18%. 1n reality: a) the

year-tosdate rate of return on trades was negative 90% before
commissions; and b) the rate of return on trades since SCRONIC
began soliciting investors in April 2010 was also negative.

c. After receiving the false information from SCRONIC
regarding the Fund’s performance, Victim A invested $100,000 in
the Fund in or about December 2015. Victim A transferred the
money from his brokerage account to SCRONIC's personal bank
account. SCRONIC then transferred the money to the Brokerage
Account. These wire transfers were processed from the Southern
District of New York through the Fedwire Funds Transfer System’s
facility in Texas and, therefore, were interstate.

d. SCRONIC told Victim A on or about July 15, 2016
that the value of the Fund increased by 2.3% for the second
quarter of 2016. 1n fact, during that quarter, the Brokerage
Account had about $744,000 in net trading losses. Similarly,
SCRONlC told Victim A on or about April 3, 2017 that the Fund
was up 7.1% for the first quarter of 2017 when the Brokerage
Account actually had net trading losses of approximately

$681,000.

e. Victim A invested another $100,000 in the Fund on
or about June 21, 2017. On'or about the same day, another
investor invested $25,000. SCRONIC transferred $105,000 of these
investor funds to the Brokerage Account but retained the
remaining $20,000 in his personal checking account. On or about
the same day, he made a purchase at Cartier of approximately

$ll,OOO.

f. On August 8, 2017, Victim A requested a redemption
of $200,000 of his purported $223,283 balance in the Fund as of
June 30, 2017. Victim A requested that the redemption be
processed within three days, as set forth in the investor
agreement he signed with SCRONIC. From August 2017 through

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September 2017, Victim A made several additional requests for
the $200,000 redemption. SCRONIC offered a number of excuses
for why he was not able to process the redemption request,
including his vacation schedule and a relative's medical
'condition. As of October 2, 2017, Victim A had not received the

money.

“Victim B” 1nvests with SCRONIC

5. Based upon a review of bank and brokerage account
records and a review of electronic communications between
MICHAEL SCRONIC, the defendantir and others, 1 have learned that:

a. Between about March 2014 and March 2017, Victim B
invested a total of $2 million in the Fund.

b. On or about October 8, 2014, SCRONIC told Victim B
that his original $250,000 investment had grown to $263,285 as
of September 30, 2014. 1n reality, the value of the entire Fund
as of September 30, 2014 was no more than about $39,193. From
the dates of Victim B's original investment, the Fund incurred
more than $700,000 in net trading losses in the second and third
quarters of 2014. SCRONIC stated in an email to Victim B that
the Fund was “up 7.4% in Q3 2014,” when in fact the Fund was

down for that quarter.

c. On or about December ll, 2014, SCRONIC told Victim
B that the Fund had earned positive annual return of 21.7% in
2012 and 28.8% in 2013 and that the Fund had earned positive
quarterly returns every quarter between the second quarter of_
2012 and the third quarter of 2014. The Fund actually earned
negative annual returns in 2012 and 2013 and was down every
quarter in 2012, 2013, and 2014. On or about January 2, 2015,
SCRONIC stated in an email to Victim B that the Fund was “up
14.3%” for the fourth quarter of 2014, which was also false.

d. After receiving the foregoing false
representations from SCRONIC regarding the Fund’s performance,
Victim B invested an additional $250,000 in the Fund between

January 6, 2015 and January 8, 2015.

e. On or about July 1, 2015, SCRONIC told Victim B

that the Fund “finished up 5.2%” for the second quarter of 2015.
The Fund had a negative rate of return during the second quarter

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of 2015 and incurred more than $600,000 in trading losses during
that period.

f. After receiving the above false representations
from SCRONIC, Victim B invested another $500,000 in the Fund
between September 30, 2015 and October 6, 2015.

g. On or about January 12, 2017, SCRONIC falsely told
Victim B that his then $1 million in invested principal had
grown to $1,197,576.

h. On or about March 21, 2017, Victim B invested
another $l million in the Fund. 1n turn, between March 21, 2017
and March 24, 2017, SCRONIC transferred $400,000 to the
Brokerage Account and used at least some of the remaining
$600,000 from Victim B’s March 21, 2017 investment to pay
redemptions to other investors in the second quarter of 2017.

“ViCtim C” 1nvests With SCRONIC

6. Based upon a review of bank and brokerage account
records and a review of electronic communications between
MICHAEL SCRONIC, the defendant, and others, 1 have learned that:

a. On or about March 7, 2017, SCRONIC told Victim C
that the Fund had positive quarterly rates of return for every
quarter in 2015 and 2016, ranging between 2.3% and 9.8%. The
Fund had net trading losses during each of those quarters.

b. After receiving the above false information
regarding the Fund's performance, Victim C invested $250,000 in
the fund on or about March 31, 2017. SCRONlC used at least some
of Victim C’s money to fund redemptions to other investors
totaling about $623,821 between March 21, 2017 and April 5,
2017. During those dates, SCRONIC also transferred $100,000 to

the Brokerage Account.

c. On er about April 3, 201?, scRONic falsely told

Victim C that the Fund was “[u]p 7.1% for Ql 2017.” Victim C
thereafter invested an additional $100,000 in the fund on or

about-May B, 2017.

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“Victim D” Invests with SCRONIC

7. Based upon a review of bank and brokerage account
records and a review of electronic communications between
MICHAEL SCRONIC, the defendant, and others, 1 have learned that:

a. On or about December 24, 2016, SCRONIC told
Victim D that the Fund was up 4.1% as of the end of the third
quarter of 2016. The Fund had a net trading loss of about
$692,000 in that quarter. When Victim D requested additional
information about the Fund's performance, SCRONIC falsely told
him that the Fund had a positive rate of return every quarter
between the second quarter of 2012 and the third quarter of

2016.

b. After receiving the foregoing false information,
Victim D invested a total of $1 million in the Fund between
December 29, 2016 and April 10, 2017. SCRONIC used at least
some of the funds invested by Victim D to make an interest
payment due on a personal loan and to pay redemptions to other
investors. 1n some instances, SCRONIC would not have had
sufficient funds available to pay the redemptions absent the
funds he received from Victim D.

WHEREFORE, deponent prays that MICHAEL SCRONIC, the
defendant, be arrested, and imprisoned or bailed as the case may

be.

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Federal Bureau of 1nvestigation

7 n to before me this
day of October, 2017

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SOUTHERN DIS

 

